 Case 1:15-cr-00090-RJJ         ECF No. 56, PageID.132          Filed 08/24/15     Page 1 of 2




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )               Case No. 1:15-cr-00090
                                    )
v.                                  )               Honorable Gordon J. Quist
                                    )
NATHAN DESHAWN BENSON,              )
                                    )
            Defendant.              )
____________________________________)


                           REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 24, 2015, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Nathan DeShawn Benson entered a plea of guilty to Counts 1, 6 and 7 of the

Superseding Indictment in exchange for the undertakings made by the government in the written plea

agreement. In Count 1 of the Superseding Indictment, defendant is charged with conspiracy to

commit bank robbery in violation of 18 U.S.C. §§ 371 and 2113(a). In Count 6 of the Superseding

Indictment, defendant is charged with armed bank robbery in violation of 18 U.S.C. § 2113(a), (d).

In Count 7 of the Superseding Indictment, defendant is charged with brandishing a firearm during

and in relation to a crime of violence, that is, bank robbery, in violation of 18 U.S.C.

§ 924(c)(1)(A)(ii). On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from
 Case 1:15-cr-00090-RJJ            ECF No. 56, PageID.133         Filed 08/24/15       Page 2 of 2




any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.

                 I therefore recommend that defendant's plea of guilty to Counts 1, 6 and 7 of the

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: August 24, 2015                                  /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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